      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 1 of 23




           UNITED STATES DISTRICT COURT
                               District of Kansas
UNITED STATES OF AMERICA,

                  Plaintiff,

            v.                          CASE NO. 07-20168-JWL

SHEVEL M. FOY,

                  Defendant.


           GOVERNMENT’S RESPONSE TO DEFENDANT’S
             MOTION FOR COMPASSIONATE RELEASE
                         (Doc. 2026)



      The United States of America, by and through undersigned counsel,

respectfully submits the following response to the defendant’s motion for

compassionate release.

      I.    PROCEDURAL HISTORY

      On May 15, 2009, the defendant was found guilty of Count 1 (conspiracy

to manufacture, to possess with intent to distribute and to distribute 50 grams

or more of cocaine base and to possess with intent to distribute and to


                                        1
      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 2 of 23




distribute 5 kilograms or more of cocaine), and Counts 17, 22, and 29

(attempted possession with intent to distribute five kilograms or more of

cocaine), and not guilty of Count 37 (use of a communication facility). (Jury

Verdict, Doc. 803; Judgment of Acquittal dated June 8, 2009, Doc. 828.) The

defendant filed a Motion for Judgment of Acquittal and a Motion for a New

Trial, with supporting memorandums. (Motion for Acquittal, Doc. 785;

Motion for New Trial, Doc. 786; Memorandum in Support, Docs. 852, 853.)

The Court granted the defendant a judgment of acquittal as to Counts 17 and

29 but denied his motions as to all other claims. (Memorandum and Order

dated August 14, 2009, Doc. 963; Judgment of Acquittal dated September 16,

2009, Doc. 1021.)

      The defendant was committed to the custody of the United States Bureau

of Prisons to be imprisoned for a total term of 360 months. (Doc. 1121, Am.

Judgment at 2, filed November 16, 2009.)

      The defendant filed a timely notice of appeal. (Notice of Appeal, Doc.

1091.) The Tenth Circuit affirmed Foy’s conviction on the conspiracy charge

(Count 1); however, it found the Government had not established venue as to

the attempt conviction (Count 22) and vacated that conviction. (Mandate dated

June 14, 2011, Doc. 1340; Doc. 1346, Am Judgment.) The defendant filed a

                                       2
         Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 3 of 23




petition for writ of certiorari, which was also denied on October 18, 2011. (Doc.

1400.)

       On October 17, 2012, the defendant filed a Motion to Vacate under 28

U.S.C. 2255. (Doc. 1485, Mot. to Vacate.) The motion was denied on April

17, 2013. (Doc. 1564, Ord.)         The defendant appealed (doc. 1589, Notice of

Appeal) and the Tenth Circuit dismissed the appeal on September 30, 2013 (doc.

1626).

       On October 17, 2016, the defendant filed a motion for a reduction in

sentence pursuant to Amendment 782. (Doc. 1776, Mot. to Reduce Sentence.)

The defendant’s motion was dismissed on January 18, 2017. (Doc. 1786, Ord.)

The defendant appealed (doc. 1788, Notice Appeal), and the appeal was

dismissed on November 7, 2018. (Doc. 1871, Mandate.)

       On June 1, 2020, the defendant filed a motion for compassionate release.

(Doc. 1912, Mot. for Release.) The defendant’s motion was dismissed for lack

of jurisdiction. (Doc. 1925, Ord.)

       On May 9, 2022, the defendant filed the instant motion seeking

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A).1                 (Doc. 2026,

1
 To the extent the defendant seeks release to home-confinement that request must be rejected.
Under the CARES Act, Pub. L. 116-136, Mar. 27, 2020, 134 Stat. 281, § 12003(b)(2), this
Court has no authority to place the defendant on home-confinement; that responsibility lies
exclusively with the Director of the Bureau of Prisons. United States v. Cumins, 833 F. App’x
                                               3
       Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 4 of 23




Mot. for Release.)

       The defendant’s projected good time release date from BOP is January 9,

2034. (Id. at 2; https://www.bop.gov/inmateloc/ (last visited May 25, 2022).)




       The defendant proposes a sentence reduction to time served and does not

provide any housing or employment details in his release plan, and only states

he would be employed immediately upon release and needs to care for his ailing

mother.     (Doc. 2026, Mot. for Release at 3, 5, 7-9; Doc. 2026-2, Proposed

Release Plan.)

       Without a proper and approved release plan, the defendant cannot be

released. “An appropriate release plan is essential to ensure that a defendant




765, 766 (10th Cir. 2021) (noting that home confinement amounts to a designation of the home
as the place of imprisonment, a decision that is reserved to the BOP Director).

                                             4
         Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 5 of 23




actually has a safe place to live and access to health care in these difficult times.

Shortening a defendant’s sentence where there is not an adequate release plan

offers no benefit to the health of the inmate and in the process likely further

endangers the community into which the defendant is released.” United States v.

Allison, 2020 WL 3077150 at *4 (W.D. Wash. June 10, 2020).

           II. ARGUMENT

         In his motion, the defendant requests counsel be appointed to represent

him.      (Doc. 2026, Mot for Release at 8-9.)          Because the opportunity for

appointment of counsel has already been addressed by the Court, that request

should be denied2. However, the defendant is not precluded from seeking the

relief he desires on his own.

         The defendant moves this Court for an Order of Compassionate Release

due to the spread of COVID-19, the need to care for his ailing mother, his age,

his rehabilitation efforts, and time already served. (Doc. 2026, Mot. for Release

at 3.)



2 Under the District of Kansas Standing Order 18-4, the Federal Public Defender was
appointed to represent indigent defendants “to determine whether that defendant may qualify
to seek reduction of sentence and to present any motions or applications for reduction of
sentence in accordance with Section 404 of the First Step Act of 2018, which retroactively
applies the Fair Sentencing Act of 2010.”                        (Standing Order 18-4,
http://ksd.uscourts.gov/index.php/local-rule/no-18-4-in-re-first-step-act-of-2018-dec-21-
2018-application-of-fair-sentencing-act/ (last accessed May 25, 2022).)

                                            5
       Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 6 of 23




       The government objects to the defendant’s motion for compassionate

release and submits the following in support of its position.

               A.     Defendant’s Obligations

       The defendant is burdened with demonstrating that circumstances exist

warranting this Court’s consideration of compassionate release.                       See United

States v. Rodriguez-Orejuela, 457 F.Supp.3d 1275, 1282 (S.D. Fla. 2020) (noting

that under the CARES Act / Section 3582(c) framework the defendant bears the

burden of establishing that compassionate release is warranted); United States v.

Holden, 452 F.Supp.3d 964, 969 (D. Ore. 2020) (noting that “[a] defendant

seeking a reduction in his term of imprisonment bears the burden to establish

both that he has satisfied the procedural prerequisites for judicial review and that

compelling and extraordinary reasons exist to justify compassionate release.”);

United States v. Epstein, 2020 WL 1808616, at *2 (D.N.J. Apr. 9, 2020) (Slip Op.)

(“Simply put, under the FSA, a defendant seeking a reduction in his term of

imprisonment bears the burden of establishing both that he has satisfied (1) the

procedural prerequisites for judicial review, and (2) that compelling and

extraordinary reasons exist to justify compassionate release.”).3


3
  The defendant must also establish that he has a valid release plan in place. See United States
v. Allison, 2020 WL 3077150, at *4 (W.D. Wash. June 10, 2020) (“An appropriate release plan
is essential to ensure that a defendant actually has a safe place to live and access to health care
                                                 6
       Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 7 of 23




       Here, the defendant falls short of satisfying the requirements for

compassionate release under 3582(c)(1)(A)(i). Thus, for the following reasons,

this Court must overrule his motion and deny the requested relief.

              B.     BOP’s Response to the COVID-19 Pandemic4

       As this Court is well-aware, COVID-19 is an extremely dangerous illness

that has caused many deaths in the United States in a short period of time

resulting in disruption to our society and economy.                   In response to the

pandemic, BOP has taken significant measures to protect the health of the

inmates in its charge.5



in these difficult times. Shortening a defendant’s sentence where there is no adequate release
plan offers no benefit to the health of the inmate and in the process likely further endangers
the community into which the defendant is release.”)
4
  It should again be noted that BOP continues to prioritize transferring inmates to home
confinement in appropriate circumstances when those inmates are vulnerable to COVID-19
under the CDC risk factors—particularly those at institutions where there have been COVID-
19 outbreaks—and BOP is devoting all available resources to executing on that directive.
Additionally, BOP is devoting all available resources to assessing the inmate population to
determine which inmates would be appropriate for transfer under this priority program and
to then process those inmates for transfer as quickly as possible.
5
  Importantly, the mere existence of the COVID-19 pandemic, which poses a general threat
to every non-immune person in the country, does not alone provide a basis for a sentence
reduction. As the Third Circuit held, “the mere existence of COVID-19 in society and the
possibility that it may spread to a particular prison alone cannot independently justify
compassionate release.” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). Thus, to
classify COVID-19 as an extraordinary and compelling reason would not only be inconsistent
with the text of the statute and the policy statement, but would be detrimental to BOP’s
organized and comprehensive anti-COVID-19 regimens, could result in the scattershot
treatment of inmates, and would undercut the strict criteria BOP employs to determine
individual inmates’ eligibility for sentence reductions and home confinement.
                                             7
       Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 8 of 23




       The Department of Justice has, consistent with the Centers for Disease

Control (CDC), identified certain risk factors that place inmates at higher risk of

complications from COVID-19.6 Thus, an inmate that presents with one of the

named CDC factors, as confirmed by medical records, and who is not expected

to recover from that condition, is deemed to have established an extraordinary

and compelling reason allowing for consideration of compassionate release

under Section 3582(c)(1)(A).            As noted by the Sentencing Commission, a

specified and confirmed chronic medical condition presents “a serious physical

or medical condition . . . that substantially diminishes the ability of the defendant

to provide self-care within the environment of a correctional facility and from

which he or she is not expected to recover,” U.S.S.G. § 1B1.13 cmt. n.1(A)(ii)(I),

in that the inmate’s ability to provide self-care against serious injury or death



Section 3582(c)(1)(A) contemplates sentence reductions for specific individuals, not the
widespread prophylactic release of inmates and the modification of lawfully imposed
sentences to deal with a world-wide viral pandemic.
6
  The factors include the following: asthma (moderate to severe); cancer; chronic kidney
disease; chronic lung disease, such as chronic obstructive pulmonary disease (COPD)
(including emphysema and chronic bronchitis), idiopathic pulmonary fibrosis, and cystic
fibrosis; diabetes, including type 1, type 2, or gestational; hemoglobin disorders, such as sickle
cell disease and thalassemia; immunocompromised, including from cancer treatment, bone
marrow or organ transplantation, immune deficiencies, HIV with a low CD4 cell count or
not on HIV treatment, and prolonged use of corticosteroids and other immune weakening
medications; liver disease, including cirrhosis; neurologic conditions such as dementia;
serious heart conditions, including heart failure, coronary artery disease, congenital heart
disease, cardiomyopathies, and pulmonary hypertension; and obesity, defined as a body mass
index (BMI) of 25 kg/m2 or above.
                                                  8
       Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 9 of 23




resulting from COVID-19 is substantially diminished, within the environment

of the corrections facility, by the chronic condition itself. To that same end, a

defendant’s medical condition “must be one of substantial severity and

irremediability.” United States v. Lisi, 440 F.Supp.3d 246, 251 (S.D.N.Y. 2020);

United States v. Willis, 382 F. Supp. 3d 1185, 1188 (D.N.M. 2019) (relief is “rare”

and “extraordinary”); United States v. Polnitz, 2020 WL 1139836, at *2 (E.D.

Wis. Mar. 9, 2020) (must be extraordinary; “Many inmates suffer from pain and

mental illness.”)7

       As of this pleading, BOP has 138,963 federal inmates in BOP-managed

institutions and 13,441 in community-based facilities. The BOP staff

complement is approximately 36,000. There are 88 federal inmates and 236 BOP




7
 That does not mean, however, that COVID-19 is irrelevant to a court’s analysis of a motion
under Section 3582(c)(1)(A). If an inmate has a chronic medical condition that has been
identified by the CDC as elevating the inmate’s risk of becoming seriously ill from COVID-
19, that condition may satisfy the standard of “extraordinary and compelling reasons.” See
Centers for Disease Control, People with Certain Medical Conditions, available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html?ACSTrackingID=USCDC_2067-
DM76440&ACSTrackingLabel=People%20with%20Certain%20Medical%20Conditions%2
0%20%7C%20COVID-19&deliveryName=USCDC_2067-DM76440 (last updated on May
2, 2022). Under these circumstances, a chronic condition (i.e., one “from which [the
defendant] is not expected to recover”) reasonably may be found to be “serious” and to
“substantially diminish[] the ability of the defendant to provide self-care within the
environment of a correctional facility,” even if that condition would not have constituted an
“extraordinary and compelling reason” absent the risk of COVID-19. See, e.g., U.S.S.G. §
1B1.13, cmt. n.1(A)(ii)(I).

                                             9
         Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 10 of 23




staff who have confirmed positive test results for COVID-19 nationwide.

Currently, 51,448 inmates and 12,702 staff have recovered. There have been 295

federal inmate deaths and 7 BOP staff member deaths attributed to COVID-19

disease. Of the inmate deaths, 11 occurred while on home confinement.8

         The defendant is presently incarcerated at FCI Yazoo City Low where

there       are    1,648     inmates,     with     127    at    the   camp.    See

https://www.bop.gov/locations/institutions/yaz/ (accessed May 25, 2022).

According to BOP statistics, https://www.bop.gov/coronavirus/ (accessed May

25, 2022) (screen shots attached below), that facility currently has only 2 inmates

and no staff members who have COVID-19. There have been 3 inmate deaths

and no staff deaths. BOP provided full inoculations for 3,114 inmates and 466

staff at Yazoo City FCC. Of the more than 128,720 BOP inmates tested, at

least 1,268 tests have been administered to the inmates at Yazoo City Low FCI.




The current modified operations plan for the BOP is stated in full at

https://www.bop.gov/coronavirus/covid19_status.jsp. Taken together, these

8
    https://www.bop.gov/coronavirus/ (last visited May 25, 2022).

                                             10
      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 11 of 23




measures are designed to mitigate sharply the risks of COVID-19 transmission

in a BOP institution. BOP has pledged to continue monitoring the pandemic

and to adjust its practices as necessary to maintain the safety of prison staff and

inmates while also fulfilling its mandate of incarcerating all persons sentenced

or detained based on judicial orders.

      Notably, “the BOP [is] committed to vaccinating all prisoners during the

upcoming months.” United States v. Davis, 2021 WL 1016115, at *3 (S.D.N.Y.

Mar. 17, 2021) (quoting United States v. Maldonado, 2021 WL 639069, at *3

(S.D.N.Y Feb. 17, 2021). Records in this case show that the defendant refused

the COVID-19 vaccine on April 12, 2021.           (See medical records snapshot

below.).




      The defendant refuses to be vaccinated against COVID-19, and, courts

have consistently held such refusal against a defendant seeking compassionate

release. United States v. Greenlaw, 2021 WL 1277958, at *6 (D. Me. Apr. 6,

2021) (collecting cases); ee, e.g., United States v. Hargrove, 2021 WL 2210844, at *4

                                         11
      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 12 of 23




(W.D.N.C. June 1, 2021) (finding the defendant's obesity “no longer qualifies as

an ‘extraordinary and compelling reason’ here because Defendant has refused to be

vaccinated”); United States v. Jacobs, 2021 U.S. Dist. LEXIS 92819, at *2

(W.D.N.C.      May     17,   2021)   (denying     compassionate     release   where

defendant refused COVID-19 vaccine and noting that “Defendant's own behavior

[in refusing vaccination] is inconsistent with his position that he believes he is at

increased risk from the virus” (quoting United States v. Williams, 2021 WL 321904,

at *3 (D. Ariz. Feb. 1, 2021)).

      Unfortunately, and inevitably, some inmates have become ill. But BOP

must consider its concern for the health of its inmates and staff alongside other

critical considerations. For example, notwithstanding the current pandemic

crisis, BOP must carry out its charge to incarcerate sentenced criminals to

protect the public. It must consider the effect of a mass release on the safety

and health of both the inmate population and the citizenry. It must marshal its

resources to care for inmates in the most efficient and beneficial manner possible.

It must assess release plans, which are essential to ensure that a defendant has a

safe place to live and access to health care in these difficult times. And it must

consider myriad other factors, including the availability of both transportation

for inmates (at a time that interstate transportation services often used by


                                         12
      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 13 of 23




released inmates are providing reduced service), and supervision of inmates

once released (at a time that the Probation Office has necessarily cut back on

home visits and supervision).

            C.    Legal Framework

      As a general matter, federal courts are prohibited from modifying a

defendant’s term of imprisonment once it has been imposed; however, this rule

is subject to a limited number of narrow exceptions.     Freeman v. United States,

564 U.S. 522, 526 (2011).       Section 3582(c)(1) qualifies as one of these

exceptions and now provides that a district court is authorized to grant a motion

for reduction of sentence whether filed by the Director of the BOP or upon

motion of the defendant “after the defendant has fully exhausted all

administrative rights to appeal a failure of the [BOP] to bring a motion on the

defendant’s behalf or the lapse of 30 days from the receipt of such a request by

the warden of the defendant’s facility, whichever is earlier.”         18 U.S.C.

§ 3582(c)(1)(A). Importantly, however, a district court may grant a motion for

sentence reduction only if the following three requirements are met: (1) there are

extraordinary and compelling reasons warranting the reduction; (2) the

reduction is consistent with the applicable policy statements issued by the United



                                       13
      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 14 of 23




States Sentencing Commission; and (3) the district court considers the factors

set forth in Section 3553(a), to the extent they are applicable. (Ibid).

      To satisfy the requirements of Section 3582(c)(1)(A), a district court must

engage in a three-step process.    United States v. McGee, 992 F.3d 1035, 1042-43

(10th Cir. 2021) (adopting test established in United States v. Jones, 980 F.3d 1098,

1107 (6th Cir. 2020)); see also United States v. Maumau, 993 F.3d 821, 831 (10th Cir.

2021) (“Because this three-step test is consistent with the plain language of

[Section 3582(c)(1)(A)], we adopt the test for use in this circuit.”).

      At step one, a district court must find whether extraordinary and

compelling reasons warrant a sentence reduction.         McGee, 992 F.3d at 1043.

To that end, “the most plausible interpretation of . . . [Section] 3582(c)(1)(A)(i)

is that Congress intended to afford district courts with discretion, in carrying out

the first step of the statutory test . . . [and] to independently determine the

existence of ‘extraordinary and compelling reasons,’ and for the discretion to be

circumscribed under the second step of the statutory test by requiring district

courts to find that a sentence reduction is consistent with the applicable policy

statements issued by the Sentencing Commission.”         Id. at 1044.

      At step two, a district court must determine whether such reduction is

consistent with applicable policy statements issued by the Sentencing

                                         14
      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 15 of 23




Commission.       Id. at 1048.      As highlighted by the Court in McGee, the

Sentencing Commission’s description of what constitutes “extraordinary and

compelling reasons” must be viewed as a “general policy statement” rather than

the equivalent of a statutory definition.      Id. at 1048.   As the Court in McGee

opined:

      . . . in applying the first part of [Section] 3582(c)(1)(A)’s statutory
      test, [district courts] have the authority to determine for themselves
      what constitutes “extraordinary and compelling reasons,” but that
      this authority is effectively circumscribed by the second part of the
      statutory test, i.e., the requirement that a district court find that a
      reduction is consistent with applicable policy statements issued by
      the Sentencing Commission pursuant to [Sections] 994(a)(2)(C) and
      (t). In other words, we conclude that Congress did not, by way of
      [Section] 994(t), intend for the Sentencing Commission to
      exclusively define the phrase “extraordinary and compelling
      reasons,” but rather for the Sentencing Commission to describe
      those characteristic[s] or significant qualities or features that
      typically constitute “extraordinary and compelling reasons,” and for
      those guideposts to serve as part of the general policy statements to
      be considered by district courts under the second part of the
      statutory test in [Section] 3582(c)(1)(A).


Id. at 1048.9

9
  Notably, the Court in McGee further concluded, consistent with the Second, Fourth,
Sixth, and Seventh Circuits, “that the Sentencing Commissions’ existing policy
statement is applicable only to motions for sentence reductions filed by the Director of
the BOP, and not to motions filed directly by defendants.” 992 F.3d at 1050
(emphasis supplied); see also Maumau, 993 F.3d at 836-37 (rejecting the government’s
position that Section 1B1.13 remains binding on the district court when a defendant
files a motion for sentence reduction under Section 3582(c)(1)(A) directly with the
district court).
                                          15
      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 16 of 23




      Finally, at step three, a district court must address the applicable factors

under Section 3553(a).    Id. at 102-43.        Importantly, a district court may deny

compassionate release when any of the three prerequisites listed in Section

3582(c)(1)(A) is lacking and need not address the other factors.           Id at 1043.

(citing, United States v. Elias, 984 F.3d 516, 519 (6th Cir. 2021)).       Conversely,

when a district court determines that compassionate release is warranted, “it

must of course address all three steps.”         Id. (quoting United States v. Navarro,

986 F.3d 668, 670 (6th Cir. 2021)).

            D.     Argument

      The defendant maintains he is a qualified candidate for release due to the

spread of COVID-19, the need to care for his ailing mother, his age, his

rehabilitation efforts, and time already served. (Doc. 2026, Mot. for Release at

      Medical Conditions

      The defendant admits he does not suffer from any medical issues that put

him at high risk of complications from contracting COVID-19. (Doc. 2026 at

4.) Thus, under the circumstances, the defendant has not established

extraordinary and compelling reasons pursuant CDC and / or DOJ guidelines

allowing   for   consideration   of   compassionate          release   under   Section

3582(c)(1)(A).

                                           16
      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 17 of 23




      Family Circumstances

      The defendant further claims he needs to take care of his ailing mother.

(Doc. 2026, Mot for Release at 3, 5-6, 8-10.)    The defendant argues he is the

only sibling who can provide “end-of-life care” and “can produce enough

evidence that he is the only available child who can aide his mother.” (Id at 5.)

However, the defendant provides no legible records or information pertaining to

his mother’s medical condition. The medical records attached to his motion are

illegible and therefore cannot provide evidence to support his claim.       (Doc.

2026-3, Medical Records.) The defendant contends, “letters stating the siblings

cannot care for their mother during certain times of the day due to work can be

obtaine[ed] with the assistance of counsel.” (Doc. 2026, Mot. for Release at 9.)

However, the defendant does not need counsel to submit affidavits from his

siblings related to their ability to care for their mother, and more importantly,

the defendant does not explain who is currently caring for his mother if not his

siblings.

      Section 1B1.13 of the Federal Sentencing Guidelines provides that a

district court may reduce a term of imprisonment if, after considering the factors

in Section 3553(a), that (1) “extraordinary and compelling reasons warrant the

reduction;” (2) that the defendant is not a danger to the safety of any other

                                       17
      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 18 of 23




person or the community, and (3) the reduction is consistent with this policy

statement.     Relevant to the issue presented here, the commentary under

Section 1B1.13 suggests that extraordinary and compelling reasons exist when

the defendant remains the only available caregiver for the suffering family

member.      See U.S.S.G. § 1B1.13, comment. n.1(C)(ii); United States v. Bucci, 409

F.Supp.3d 1, 2 (D. Mass. 2019) (“When a defendant is the ‘only available

caregiver’ for an incapacitated parent (perhaps a more unique occurrence given

that inmates may have siblings or other family members able to care for their

parents), then, it is likewise an ‘extraordinary and compelling’ reason warranting

compassionate release.”); United States v. Quinones Rodriguez, 2020 WL 5045203

(W.D. Va. Aug. 26, 2020) (release granted due to incapacitation of minor

children’s caregiver, leading to children being placed in foster care; defendant

served 60% of 108-month drug sentence); but see United States v. Ingram, 2019 WL

3162305, at *2 (S.D. Ohio, July 16, 2019) (denying compassionate release to a

defendant in order to care for ill mother because “[m]any, if not all inmates,

have aging and sick parents”); United States v. Nevers, 2019 WL 7281929, at *6

(E.D. La., Dec. 27, 2019) (unpub.) (denying compassionate release to inmate

with ailing family member when PSR reflected multiple other family members

who were potential caregivers); United States v. Carr, 2020 WL 1815910 (D. Colo.

                                         18
      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 19 of 23




Apr. 10, 2020) (release denied as care is available for the defendant’s minor

children); United States v. Ingram, 2020 WL 3183698, at *2 (D. Mary., June 15,

2020) (unpub.) (finding that a parent’s health concern does not qualify as an

“extraordinary and compelling” reasons under Section 3582(c)(1)(A)); United

States v. Ledezma-Rodriguez, --- F.Supp.3d ---, 2020 WL 3971517, at *7 (S.D.

Iowa, July 14, 2020) (denying compassionate release to defendant with ailing

mother given defendant’s failure to “produce enough evidence that he is the only

available child who can aide his mother.”)10; United States v. Brown, 2020 WL

3440941, at *3 (S.D. Miss., July 23, 2020) (unpub.) (“Even if the policy

statement could stretch to include a defendant’s elderly parent, there is no

indication that Brown is the only potential caregiver for his mother.

Additionally, there is no evidence that Brown’s mother actually requires care.

Brown has submitted no medical records and no letters or affidavits from family

members regarding his mother’s condition and the type of care that she may

need.”); United States v. Yoda, 2020 WL 5502325, at *3 (S.D.N.Y. Sept. 11, 2020)

(unpub.) (denying compassionate release on grounds that ailing parent did not


10
  In Ledezma-Rodriguez, the Court questioned whether U.S.S.G. § 1B1.13 comment. n.1(C)
even extends to ailing parents in light of the commentary referencing only “spouse or
registered partner.” 2020 WL 3971517, at *7; see also United States v. Hudec, 2020 WL
4925675, at *5 (S.D. Tex., Aug. 19, 2020) (“Because caring for a sick and/or aging parent is
not a qualifying ‘family circumstance’ under U.S.S.G. § 1B1.13(1)(A), the Court is without
authority to grant compassionate release on this ground.”).
                                             19
      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 20 of 23




rely exclusively on the defendant for care).

      While the courts may disagree on the reach of Section 1B1.13 and whether

an ailing parent, an unhealthy child, or an ill aunt can be considered alongside

a spouse or registered partner, the one requirement that courts consistently

require is evidence that the defendant is the only family member that is available

for immediate care to the ailing parent.       The defendant clearly has siblings

available to care for his mother, as they are currently providing that care.

Under the circumstances, the defendant falls remarkably short of establishing

that he is the sole family member available to care for his ailing mother.

      Because the defendant has failed to establish that he is the only family

member available to care for his mother, or that his relatives’ circumstance is so

dire that immediate release is warranted, the government respectfully moves this

Court to overrule his motion and deny him the requested relief.

      Additionally, when balanced against the factors below, the spread of

COVID-19 and family circumstances, either individually or collectively, fail to

demonstrate a situation so severe that early release from his sentence is

warranted.

             E.   Section 3553(a) Factors

      To the extent that a defendant can establish an extraordinary and

                                       20
      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 21 of 23




compelling reason for release based upon a confirmed and documented medical

condition, satisfying that burden does not resolve the defendant’s entitlement to

a reduction in sentence or release from confinement. This Court must still

consider whether the defendant poses a danger to the community and other

relevant factors under Section 3553(a) before making the ultimate decision on

release. Accordingly, this Court must consider (1) the defendant’s personal

history and characteristics; (2) his sentence relative to the nature and seriousness

of his offenses; (3) the need for a sentence to provide just punishment, promote

respect for the law, reflect the seriousness of the offense, deter crime, and protect

the public; (4) the need for rehabilitative services; (5) the applicable guideline

sentence; and (6) the need to avoid unwarranted sentencing disparities among

similarly-situated defendants. See 18 U.S.C. § 3553(a)(1)–(6)).

      In this case, the defendant was convicted of conspiracy to manufacture, to

possess with intent to distribute and to distribute 50 grams or more of cocaine

base and to possess with intent to distribute and to distribute 5 kilograms or more

of cocaine. The investigation disclosed the defendant pooled his money with

one of his coconspirators to buy quantities of cocaine and then distributed the

cocaine through a network of individuals in the Leavenworth, Kansas area.

(Doc. 1055 Presentence Report ¶31.) The defendant also possessed firearms in

                                         21
        Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 22 of 23




furtherance of his drug trafficking]. (Doc.1055, PSR at ¶ 184.) The defendant

was ultimately held accountable for at least 150 kilograms of cocaine being

distributed. (Id. at ¶¶176-177.)

        Additionally, the defendant has a lengthy criminal history, some of it

violent, including shooting a shotgun into an occupied vehicle (Id. at ¶¶ 193-

207.)

         The defendant has amassed the attached Disciplinary Record while

serving his sentence. See Government Exhibit 1, attached.

        Applying the Section 3553 factors here favor against reducing the

defendant’s sentence to time served. While the defendant may not appear to

pose a direct danger to society upon release, he has 139 months remaining of his

360-month sentence. Thus, a reduction to time served would diminish the

nature and seriousness of his offense and the need for his sentence to continue

to provide just punishment and otherwise promote respect for the law.

        III.   CONCLUSION

        For the foregoing reasons, the government respectfully moves this Court

to reject the defendant’s arguments for compassionate release and asks that his

motion be dismissed.



                                       22
      Case 2:07-cr-20168-JWL Document 2031 Filed 05/26/22 Page 23 of 23




                               Respectfully submitted,

                               DUSTON J. SLINKARD
                               United States Attorney
                               District of Kansas


                               By:        /s/   Kim I. Flannigan
                                      Kim I. Flannigan
                                      Assistant United States Attorney
                                      500 State Avenue, Suite 360
                                      Kansas City, Kansas 66101
                                      (913) 551-6730
                                      (913) 551-6541 (fax)
                                      Kim.Flannigan@usdoj.gov
                                      Ks S.Ct.No. 13407




                         CERTIFICATE OF SERVICE

      I certify that on May 26, 2022, I electronically filed this Response with the

Clerk of the Court by using the CM/ECF and that a copy of the same was mailed

through the United States Postal Service, first class, postage prepaid to:


Shevel M. Foy
11776-031
YAZOO CITY - FCI - LOW
Federal Correctional Institution
Inmate Mail/Parcels
PO Box 5000
Yazoo City, MS 3919

                               By:        /s/   Kim I. Flannigan
                                      Kim I. Flannigan
                                      Assistant United States Attorney

                                        23
